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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     October 9, 2020

BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       The Government respectfully writes to provide an update on the Government’s
productions of additional discovery.

        In the Government’s letter dated August 7, 2020 (Dkt. 96), the Government noted that it
had recently discovered certain Special Counsel’s Office (“SCO”) documents, and set forth its
plan to review and produce them, and to determine the extent to which they were duplicative of
discovery that had already been produced. The Government then updated the Court on
September 9, 2020 (Dkt. 100), describing the productions made to date and the Government’s
ongoing efforts to review materials in its possession for non-duplicative material (the “Ongoing
Review Materials”; see id. at 1); and to obtain certain materials not already in the Government’s
possession (the “Materials to be Obtained” see id.). In particular, the Government advised that it
expected to be able to complete its manual review and production of the Ongoing Review
Materials and the Materials to be Obtained within 30 days, but that the process of loading a
broader universe of material into a database for automated deduplication might not be complete
within that timeframe.

       Since the Government’s September 9 letter, the Government has in fact obtained all of
the Materials to be Obtained and completed its manual review of the Materials to be Obtained
and the Ongoing Review Materials. As a result of this manual review, the Government
produced, on September 23, 2020, several additional jail calls involving Paul Manafort the
Government recently obtained, several statements of Manafort, and an operable copy of the taint-
reviewed extraction of an iPhone used by Jeffrey Yohai. 1 Additionally, on October 8, 2020, the
Government produced approximately 138,000 pages of materials from the Ongoing Review

1
  As described in the Government’s August 7 letter, the Government’s search for an operable copy
of this extraction led it to discover certain previously unreviewed SCO documents and launch the
review process detailed in the Government’s letters.
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Materials and Materials to be Obtained, mostly drawn from the Special Counsel’s Office’s
productions to Manafort and from a working folder used by SCO paralegals to prepare discovery
productions. 2 Included in these documents are approximately 41,000 pages the Government
recently obtained that the Government believes are highly likely to be largely or completely
duplicative of documents the Government produced in October 2019. The Government has
specifically identified these documents within the broader range of materials recently produced
for the defense and its reasons for believing they are likely duplicative.

        In addition to this manual review, which is now completed, the Government is still in the
process of loading materials into a database in order to perform an automated deduplication
process. While this process is not complete, as noted in the Government’s September 9 letter,
the Government does not expect this automated deduplication process to result in the production
of any significant volume of new material (and, to the contrary, believes it may result in
confirmation that some of the material produced after the manual review is in fact previously
produced material). The Government intends to advise the defense and the Court when this
automated process is complete, which the Government presently expects to be within 30 days.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney

                                         by: /s/ Paul M. Monteleoni
                                             Paul M. Monteleoni
                                             Douglas S. Zolkind
                                             Benet J. Kearney
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                                             (212) 637-2219/2418/2260

cc: Counsel of Record (via ECF)




2
  Also included in the Government’s October 8 production is a reproduction of an electronic device
extraction previously produced in October 2019 in order to address a technical issue the defense
recently raised with us.
